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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-00502-WJM-KLM

  DALE CARTER, on behalf of himself and all others similarly situated,

        Plaintiff,

  v.

  UQM TECHNOLOGIES, INC.,
  DONALD W. VANLANDINGHAM,
  JOE MITCHELL,
  STEPHEN J. ROY,
  JOSEPH P. SELLINGER, and
  JOHN E. SZTYKIEL,

       Defendants.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

        This matter is before the Court on the parties’ Joint Motion to Continue Existing
  Deadlines [#21] (the “Motion”).

        IT IS HEREBY ORDERED that the Motion [#21] is GRANTED. The deadline for
  Defendants to respond to the Complaint [#1] is extended to July 25, 2019.

        IT IS FURTHER ORDERED that the Scheduling Conference set for May 22, 2019,
  at 10:30 a.m. is VACATED and RESET to September 5, 2019,1 at 10:30 a.m. in
  Courtroom A-401 of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado.

         IT IS FURTHER ORDERED that the parties shall submit their proposed scheduling
  order pursuant to the District of Colorado Electronic Case Filing (“ECF”) Procedures. The
  parties shall submit the proposed scheduling order no later than August 29, 2019. The
  deadline to file the Magistrate Judge Consent/Non-Consent Form is extended to August
  29, 2019. The deadline for the parties to have a Rule 26(f) Conference is extended to
  August 14, 2019.

        Dated: May 14, 2019



        1
            The Court has no availability on its calendar on the date suggested by the parties.
